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Exhibit H

Hardhi Work Certifications and Achievements
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Location: Hyderabad

   

 
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MongoDB
University

Course Completion Confirmation

JULY 2019

This confirms

PHANIDEEP KARNATI KARNATI

 

successfully completed

M001: MongoDB Basics

a course of study offered by MongoDB, Inc.

 

 

Shannon Bradshaw
VP, Education
MongoDB, Inc.

 
 

of 7

 

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